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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION


CESIUMASTRO, INC.,
                                                            Case No. 1:24-cv-00314-RP
        Plaintiff,

                v.

ERIK LUTHER and ANYSIGNAL, INC.,

        Defendants.


              JOINT FEDERAL RULE OF CIVIL PROCEDURE 26 REPORT

        Plaintiff CesiumAstro, Inc. (“CesiumAstro”), Defendant Erik Luther (“Luther”) and

Defendant AnySignal, Inc. (“AnySignal,” and collectively with CesiumAstro and Luther, the

“Parties”) conducted a conference pursuant to Federal Rule of Civil Procedure 26(f) on May 10,

2024.

        Pursuant to that Rule, Local Rule CV-16(b), and Appendix N to the Local Rules, the Parties

hereby submit this Joint Report.

1. What are the causes of action, defenses, and counterclaims in this case? What are the
   elements of the cause(s) of action, defenses, and counterclaims pled?

        CesiumAstro’s Complaint (ECF No. 1) alleges the following causes of action:

        First Cause of Action: Misappropriation under the Defend Trade Secrets Act (“DTSA”),

18 U.S.C. § 1836, against both defendants. The elements of this claim are: (1) a trade secret

existed, (2) the trade secret was acquired through a breach of a confidential relationship or

discovered by improper means, and (3) the defendant used the trade secret without authorization

from the plaintiff. CAE Integrated, L.L.C. v. Moov Techs., Inc., 44 F.4th 257, 262 (5th Cir. 2022).

        Second Cause of Action: Misappropriation under the Texas Uniform Trade Secrets Act

(“TUTSA”), Tex. Civ. Prac. & Rem. Code § 134A, against both defendants. The elements of this
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claim are: (1) the information is a trade secret; (2) the defendant acquired the secret through

improper means; and (3) the defendant’s use of the secret resulted in harm to the plaintiff. Miner,

Ltd. v. Anguiano, 383 F. Supp. 3d 682, 702 (W.D. Tex. 2019).

       Third Cause of Action: Breach of contract against Luther relating to his Proprietary

Information and Inventions Agreement with CesiumAstro (the “PIIA”). The elements of this claim

are: (1) the existence of a valid contract; (2) performance or tendered performance by the plaintiff;

(3) breach of the contract by the defendant; and (4) damages sustained by the plaintiff as a result

of the breach. Conn Credit I, L.P. v. TF LoanCo III, L.L.C., 903 F.3d 493, 500 (5th Cir. 2018).

       Fourth Cause of Action: Breach of fiduciary duty and duty of loyalty against Luther. The

elements of this claim are: (1) a fiduciary relationship between the plaintiff and defendant; (2) the

defendant must have breached his fiduciary duty to the plaintiff; and (3) the defendant’s breach

must result in injury to the plaintiff or benefit to the defendant. Belliveau v. Barco, Inc., 987 F.3d

122, 132 n.9 (5th Cir. 2021).

       Fifth Cause of Action: Tortious interference with contract against AnySignal in relation to

the PIIA between CesiumAstro and Luther. The elements of this claim are: (1) the existence of a

contract subject to interference, (2) the occurrence of an act of interference that was willful and

intentional, (3) the act was a proximate cause of the plaintiff’s damage, and (4) actual damage or

loss occurred. Nix v. Major League Baseball, 62 F.4th 920, 934 (5th Cir.), cert. denied, 144 S. Ct.

165 (2023).

2. Are there any outstanding jurisdictional issues?

       There are no outstanding jurisdictional issues.

3. Are there any unserved parties? If more than 90 days have passed since the filing of the
   Complaint or petition, should these unserved parties be dismissed?

       All parties have been served.


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4. Are there any agreements or stipulations that can be made about any facts in this case or
   any element in the cause(s) of action?

       CesiumAstro and Luther agree to the following undisputed facts:

       1.       Luther was employed by CesiumAstro from February 2021 until August 21,

                2023.

       2.       Luther and CesiumAstro entered into the PIIA on December 27, 2020.

5. Are there any legal issues in this case that can be narrowed by agreement or by motion?

       CesiumAstro and Luther have reached the following agreements regarding the three

motions presently before the Court, as outlined in the Joint Status Report Between CesiumAstro

and Luther (ECF No. 20):

       1.       CesiumAstro has withdrawn its Motion for Order Permitting Expedited

                Discovery and Setting Briefing Schedule (ECF No. 14).

       2.       CesiumAstro has withdrawn its Motion for Leave to File Documents Under

                Seal (ECF No. 15).

       2.       Luther has not withdrawn his Emergency Request for Judicial Conference,

                Motion to Stay, and Motion for Rule 11 Sanctions (ECF No. 10). Luther

                has agreed to extend CesiumAstro’s deadline to file an opposition to said

                motion until the later of (a) 14 days after CesiumAstro files a motion for a

                preliminary injunction, if any, or (b) 21 days after the completion of the

                depositions contemplated in paragraph 10 of the Joint Status Report

                Between CesiumAstro and Luther (ECF No. 20) and any depositions of any

                AnySignal witnesses conducted during the expedited discovery phase.

       There are no other legal issues that the Parties presently anticipate narrowing by agreement

or by motion, but all Parties reserve their rights to file motions and will cooperate in good faith to


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reach agreements at later stages in the case to accomplish the same.

6. Are there any issues about preservation of discoverable information?

       Beyond CesiumAstro’s allegations regarding the spoliation of evidence (ECF No. 1, ¶¶ 1,

44, 45, 58), which Luther denies (ECF No. 9, ¶¶ 1, 44, 45, 58), there are presently no additional

issues about the preservation of discoverable information.

7. Are there any issues about disclosure or discovery of electronically stored information? In
   what forms should electronically-stored information be produced and will production
   include metadata?

       There are presently no issues about disclosure or discovery of electronically stored

information (“ESI”). The parties have reached the following agreements regarding the production

of electronically stored information:

       1.       Except as otherwise noted herein, CesiumAstro and AnySignal agree that for their

                productions:

                (a) All Documents will be provided with comma delimited Load Files (i.e., .OPT

                and .DAT files) compatible for litigation support software (e.g., Relativity, etc.)

                using standard delimiters. Load Files shall be produced showing the Bates number

                of each page and approximate unitization of the Documents, contain one row per

                TIFF image, and shall logically group all corresponding images, text and data

                together in a directory structure with a common key to load the data. The image

                key shall be named the same as the Bates number of the page. Metadata Load Files

                shall contain the metadata fields listed in Appendix A to this Joint Report, if

                available, and include a field with the full path and filename to files produced in

                native format, if applicable. Image and Metadata Load Files shall be named to

                mirror the delivery volume, and volume names shall be consecutive for each

                production. Metadata Load Files must also contain the relative location of the OCR

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                Text File. For documents and ESI that do not conform to the metadata listed in

                Appendix A the Parties will meet and confer as to the appropriate metadata fields

                to be produced.

                (b) Except for documents that are to be produced in native format, documents shall

                be produced in the format of single-page, black and white, 300 DPI, Group IV

                Tagged Image File Format (“TIFF”) images with corresponding extracted full text

                or text generated via optical character recognition “OCR,” if extracted text is

                unavailable and affiliated metadata described in this Order. Each TIFF image shall

                be branded with a Confidentiality designation (if any) and Bates number.

                (c) All spreadsheets (e.g., Microsoft Excel, xls, xlsx, csv, and other spreadsheet file

                extensions), presentations (e.g., Microsoft PowerPoint and Keynotes), and media

                files shall be produced as native files named according to the first Bates number of

                the corresponding document, along with a corresponding slip sheet endorsed with

                a confidentiality designation (if any), a Bates number, and shall state, “Document

                Produced in Native.”

       3.       Except as otherwise noted herein, CesiumAstro and Luther are continuing to meet

                and confer regarding the format of Luther’s productions.

       4.       Regarding text messages, chats, and instant messages, the parties will continue to

                confer about the production format and finalize their agreement by May 31, 2024.

       5.       Parties will exchange privilege logs for any documents withheld on the basis of a

                claim of privilege which are dated before January 30, 2024.

8. What are the subjects on which discovery may be needed?

       The Parties have already agreed on narrow expedited discovery, which is currently

ongoing, per the terms of the Parties’ two Joint Status Reports (ECF Nos. 20 and 22), which are

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detailed further below in response to Question 10. The Parties expect that this expedited discovery

process will clarify the scope and subjects of additional discovery needed, if any.

9. Have initial disclosures been made? If not, should any changes be made in the timing, form,
   or requirement for initial disclosures?

       The Parties have agreed to exchange initial disclosures by no later than May 24, 2024.

10. What, if any, discovery has been completed? What discovery remains to be done and when
    should it be completed? Have the parties considered conducting discovery in phases or
    agreeing to limit discovery?

       The Parties reached agreements on expedited discovery, as memorialized in two Joint

Status Reports (ECF Nos. 20 and 22). This expedited discovery process is currently ongoing. In

short: (1) CesiumAstro and Luther each served on the other expedited requests for production and

interrogatories on April 30, 2024; (2) CesiumAstro and Luther provided written responses and

objections to these requests for production and interrogatories by May 20, 2024; (3) CesiumAstro

and Luther shall complete productions in response to these requests for production and exchange

privilege logs with respect to any documents withheld on the basis of privilege by May 30, 2024;

(4) AnySignal shall produce the documents identified in the Court’s Order Granting Unopposed

Motion for Entry of an Order Regarding Joint Status Report Between CesiumAstro and AnySignal

(ECF No. 24) and serve any required privilege log by June 7, 2024, though CesiumAstro and

AnySignal are currently discussing the timing of the privilege log deadline; (5) CesiumAstro may

depose Luther for up to three hours on the record, with the deposition to occur no later than 14

days after Luther completes his productions in response to CesiumAstro’s expedited requests for

production; (6) Luther may depose a CesiumAstro representative pursuant to Fed. R. Civ. P.

30(b)(6) for up to three hours on the record regarding no more than five pre-designated topics,

with the deposition to occur no later than 30 days after CesiumAstro completes its productions in

response to Luther’s expedited requests for production; (7) AnySignal will submit to a Fed. R. Civ.


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P. 30(b)(6) deposition by written question under Rule 31 on the topics pre-designated in the Joint

Status Report Between CesiumAstro and AnySignal (ECF No. 22, ¶ 11), with CesiumAstro to

serve its written questions within 14 days of AnySignal completing its production of documents

pursuant to item (4) above and AnySignal to provide substantive deposition answers within 14

days after receipt of the deposition questions.

       The Parties expect that this expedited discovery process will clarify the scope and subjects

of additional discovery needed, if any, including whether discovery may be further phased or

limited.

11. What, if any, discovery disputes exist?

       CesiumAstro and Luther are currently meeting and conferring regarding the scope, timing,

and format of Luther’s document productions pursuant to the expedited discovery process

discussed above.    These discussions may implicate potential issues related to AnySignal’s

confidential information and the Court’s May 1, 2024 Order (ECF No. 24), which CesiumAstro

would dispute.

12. Have the parties discussed the desirability of filing a proposed order pursuant to Federal
    Rule of Evidence 502?

       The Court’s Confidentiality and Protective Order (ECF No. 26. ¶¶ 13, 19) encompasses the

substance of a proposed order pursuant to Federal Rule of Evidence 502, rendering a separate order

unnecessary.

13. Have the parties discussed early mediation?

       The Parties do not believe that early mediation will be productive. The Parties are willing

to reevaluate the possibility of early mediation after completing the expedited discovery process

outlined above.

14. Have the parties considered seeking entry of a confidentiality and protective order and are
    there any other scheduling or discovery items requiring the court’s attention?

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       The Court has already entered a Confidentiality and Protective Order, which was agreed

upon by the Parties (ECF No. 26).

       As discussed above, CesiumAstro may seek preliminary injunctive relief upon the

completion of the expedited discovery phase of this litigation. CesiumAstro will file any such

motion no later than 14 days after the completion of the depositions contemplated in paragraph 10

of the Joint Status Report Between CesiumAstro and Luther (ECF No. 20) and any depositions of

any AnySignal witnesses conducted during the expedited discovery phase




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Dated: May 24, 2024                             Respectfully submitted,


O’MELVENY & MYERS LLP                           OGLETREE, DEAKINS, NASH,
                                                SMOAK & STEWART, P.C.

/s/ Kristin C. Cope                             /s/ Collin K. Brodrick
David S. Almeling (pro hac vice)                Collin K. Brodrick
dalmeling@omm.com                               TX State Bar No. 24087212
Two Embarcadero Center                          OGLETREE, DEAKINS, NASH,
28th Floor                                              SMOAK & STEWART, P.C.
San Francisco, California 94111                 collin.brodrick@ogletree.com
Telephone: +1 415 984 8700                      8117 Preston Road, Suite 500
Facsimile: +1 415 984 8701                      Dallas, TX 75225
                                                214-692-0168 (phone)
Kristin C. Cope (pro hac vice)                  214-987-3927 (fax)
kcope@omm.com
Patrick V. Plassio                              Attorney for Defendant Erik Luther
Texas Bar No. 24102362
pplassio@omm.com                                COOLEY LLP
2801 North Harwood Street, Suite 1600
Dallas, Texas 75201                             /s/ Phillip E. Morton
Telephone: +1 972 360 1900
Facsimile: +1 972 360 1901                      Phillip E. Morton (pro hac vice forthcoming)
                                                pmorton@cooley.com
Attorneys for Plaintiff CesiumAstro, Inc.       1299 Pennsylvania Ave NW Ste 700
                                                Washington, DC 20004
                                                Telephone: 202-728-7055

                                                Adam Gershenson (pro hac vice forthcoming)
                                                500 Boylston Street
                                                14th Floor
                                                Boston, MA 02116-3736
                                                Telephone: +1 617 937 2300
                                                Facsimile: +1 617 937 2400
                                                agershenson@cooley.com

                                                Attorneys for Defendant AnySignal, Inc.




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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court’s

CM/ECF system on May 24, 2024.

                                                  /s/ Kristin C. Cope
                                                  Kristin C. Cope




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                                        Appendix A—Metadata Fields

FIELD          DESCRIPTION                                        SAMPLE DATA
Bates Begin    Bates number of the first page in the              ABC00000001
               document.
Bates End      Bates number of the last page in the               ABC00000015
               document.
Family Begin   Bates number of the first page in the              ABC00000001
               document family.
Family End     Bates number of the last page in the               ABC00000030
               document family.
Page Count     Number of pages produced.                          15
Custodian      The name of the custodian of this                  Doe, John
               document.
All Custodians When documents have been globally                  Smith, Mary; Jones, William; Brown, Jane
               deduplicated, the names of the other
               custodians who also possessed the
               document.
From           Author of the e-mail                               Doe, John <jdoe@company.com>
To             Recipient(s) of the e-mail                         Smith, Mary msmith@company.com; Jones,
                                                                  Williams jwilliams@company.com
CC                 Copyees of the e-mail                          Brown, Jane <jbrown@company.com>
BCC                Blind Copyees of the e-mail                    Doe, John <jdoe@company.com>
E-Mail             Subject of the e-mail message                  RE: Our Project
Subject
File Name          Original file name of the document; may        RE Our Project.msg MyAttachment.xlsx
                   contain the subject of the e-mail for e-
                   mails
File Extension     Original file extension of the document        Msg
                   when it was collected
Author             Value of the author field in the native file   Doe, John

Date Sent          Date e-mail was sent                           12/31/2013
Time Sent          Time e-mail was sent                           14:54:27
Date Received      Date e-mail was received                       12/31/2013
Time Received      Time e-mail was received                       14:54:29
Date Created       Date document was created                      12/30/2013
Time Created       Time document was created                      18:50:20
Date Modified      Date document was last modified                12/31/2013
Time               Time document was last modified                9:30:15
Modified
Source Path        Original path to the folder or directory       Inbox\MyFolder C:\Users\jdoe\My Documents
                   where the document was stored.



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MD5 Hash          Unique identifier generated using the MD5   D564668821C34200FF3E32C9BFDCCC80
                  cryptographic hash function.

Confidentiality The confidentiality designation requested       Highly Confidential-Attorneys Eyes Only
                for this document.
Text File       Location of the text file, relative to the root TEXT\000001\ABC00000001.TXT
                of the volume.
Native File     For documents produced natively, a link to NATIVE\000001\ABC00000015.XLSX
                the location of the native file, relativity to
                the root of the volume.

Redacted File     For redacted documents, identify if a       Redaction-Yes or Redaction-No
                  document has redactions




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